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AO 470 (12/03) Order of Temporary Detention

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
USA § ORDER OF TEMPORARY DETENTION
§ PENDING HEARING PURSUANT TO
vs. § BAIL REFORM ACT
§
(1) Robert Herrera § Case Number: 8A:25-M -01023(1)
Defendant
Upon Motion of the GOVERNMENT , itis ORDERED that a
PRELIMINARY / DETENTION HEARING
is set for July 17, 2025 * at il -00 AM
Date Time
before U.S. MAGISTRATE JUDGE HENRY J. BEMPORAD

inthe Courtroom D, on the 2nd Floor of the United States Federal Courthouse, 262 W. Nueva
Street, San Antonio, TX

Location of Judicial Officer

Pending this hearing, the defendant shall be held in custody by (the United States Marshal)
(

and produced for the hearing.

July 14, 2025 Ae /| Ah QO

Date HEDRYG BEMPORAD —
I

TED’STATES MAGISTRATE JUDGE

* If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon motion of
the Government, or up to five days upon motion of the defendant. 18 U.S.C. §3142(f}(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. §3142(f) are present. Subsection (1) sets forth the grounds

that may be asserted by the attorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the
attorney for the Government or upon the officer's own motion if there is a serious risk that the defendant (a) will flee or (b) will

obstruct or attempt to obstruct justice, or threaten, injure, or or attempt to threaten, injure, or intimidate a prospective witness or
juror.
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6/7/201 | Waiver of Preliminary Hearing

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
USA §
vs. ; NO: SA:25-M -01023(1)
(1) Robert Herrera

WAIVER OF PRELIMINARY HEARING

I understand that I have been charged with an offense in a criminal complaint filed in
this court, or charged with violating the terms of probation or supervised release in a petition
filed in this court. A magistrate judge has informed me of my right to a preliminary hearing

under Fed. R. Crim. P.5.1, or to a preliminary hearing under Fed. R. Crim. P. 32.1.

I agree to waive my right to a preliminary hearing under Fed. R. Crim. P.5.1 or Fed.

R. Crim. P. 32.1.

Date Defendant

Name of Attorney for Defendant (Print)

Date Signature of Attorney for Defendant
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6/7/2011 Waiver of Detention Hearing

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
USA §
§
VS. § NO: SA:25-M -01023(1)
§
(1) Robert Herrera §

WAIVER OF DETENTION HEARING

At the initial appearance, the government requested that I be detained without bond
pending trial pursuant to Title 18 U.S.C. Section 3142(f).

I am aware of my right to a detention hearing and to require the government to meet its
burden of proving that no conditions of release exist which will reasonably assure my
appearance in court and the safety of the community. I know that if I waive my detention
hearing, I will remain in custody pending trial. By signing this Waiver of Detention Hearing |
acknowledge that I have no questions and understand my rights and the consequences of waiving

those rights, and agree to be detained without bond pending trial.

Date Defendant

Name of Attorney for Defendant (Print)

Date Signature of Attorney for Defendant
